                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                             TAMPA DIVISION


STATE OF FLORIDA, et al.,

      Plaintiffs,

      v.                                              No. 8:22-cv-718-WFJ-JSS

ROCHELLE P. WALENSKY, et al.,

      Defendants.

_________________________________/

                        NOTICE OF RELATED ACTIONS

      In accordance with Local Rule 1.07(c), I certify that the above-captioned case

is related to pending or closed civil cases previously filed in this Court, or any other

federal or state court, or administrative agency as indicated below.

      The following cases challenge the same government action:

      Health Freedom Defense Fund v. Biden, No. 8:21-cv-1693 (M.D. Fla.) (Mizelle, J.)

      Wall v. CDC, No. 6:21-cv-975 (M.D. Fla.) (Byron, J.)

      Massie v. CDC, No. 1:22-cv-31 (W.D. Ky.)

      Mahwikizi v. CDC, No. 1:21-cv-3467 (N.D. Ill.)

      Van Duyne v. CDC, No. 4:22-cv-122 (N.D. Tex.)

      The following case was a challenge to the CDC’s Conditional Sailing Order.

That case raised similar legal questions and involved many of the same parties.
Further, the parties in that case litigated issues related to the challenged mask mandate

in this case. See Dkt. 114.

       Florida v. Becerra, No. 8:21-cv-839 (M.D. Fla.) (Merryday, J.)

       I further certify that I will serve a copy of this Notice of Related Actions on each

party no later than fourteen days after appearance of the party.



                                   Respectfully submitted,

                                   Ashley Moody
                                   ATTORNEY GENERAL

                                   John Guard (FBN 374600)
                                   CHIEF DEPUTY ATTORNEY GENERAL

                                   /s/ James H. Percival
                                   James H. Percival* (FBN 1016188)
                                   DEPUTY ATTORNEY GENERAL OF LEGAL POLICY
                                   *Lead Counsel

                                   Henry C. Whitaker (FBN 1031175)
                                   SOLICITOR GENERAL

                                   Daniel Bell (FBN 1008587)
                                   CHIEF DEPUTY SOLICITOR GENERAL

                                   Jason H. Hilborn (FBN 1008829)
                                   DEPUTY SOLICITOR GENERAL

                                   Office of the Attorney General
                                   The Capitol, Pl-01
                                   Tallahassee, Florida 32399-1050
                                   (850) 414-3300
                                   (850) 410-2672 (fax)
                                   james.percival@myfloridalegal.com

                                   Counsel for the Plaintiffs


                                                 2
        Other Counsel:1

        Steve Marshall
        Alabama Attorney General
        Edmund G. LaCour Jr.
        Solicitor General
        Office of the Alabama Attorney General
        501 Washington Avenue
        Montgomery, AL 36130-0152
        (334) 353-2196
        edmund.lacour@alabamaag.gov

        Treg R. Traylor
        Attorney General of Alaska
        Charles Edmond Brasington
        Assistant Attorney General
        1031 West Fourth Avenue, Suite 200
        Anchorage, AK 99501
        (907) 269-6612
        charles.brasington@alaska.gov

        Mark Brnovich
        Arizona Attorney General
        Drew C. Ensign
        Deputy Solicitor General
        Office of the Arizona Attorney General
        2005 N. Central Ave.
        Phoenix, AZ 85004
        (602) 542-5025
        drew.ensign@azag.gov




1
 Counsel for Florida is appearing as counsel of record for all Plaintiffs. Listed other counsel who wish
to appear in this matter will file separate motions to appear pro hac vice, with counsel for Florida
serving as local counsel.

                                                       3
Leslie Rutledge
Arkansas Attorney General
Dylan L. Jacobs
Deputy Solicitor General
Office of the Arkansas Attorney General
323 Center Street, Suite 200
Little Rock, Arkansas 72201
(501) 682-3661
dylan.jacobs@arkansasag.gov

Christopher M. Carr
Attorney General of Georgia
Stephen J. Petrany
Solicitor General
Georgia Department of Law
40 Capitol Square, SW
Atlanta, Georgia 30334
(404) 458-3408
spetrany@law.ga.gov

Lawrence G. Wasden
Idaho Attorney General
Dayton Reed
Deputy Attorney General
Office of the Idaho Attorney General
700 W. Jefferson Street
Boise, ID 83720-0010
(208) 334-2400
dayton.reed@ag.idaho.gov

Theodore E. Rokita
Attorney General of Indiana
Thomas M. Fisher
Solicitor General
Office of the Indiana Attorney General
IGC-South, Fifth Floor
302 West Washington Street
Indianapolis, Indiana 46204-2770
(317) 232-6255
tom.fisher@atg.in.gov


                                       4
Derek Schmidt
Attorney General of Kansas
Shannon Grammel
Deputy Solicitor General
Office of the Kansas Attorney General
120 SW 10th Avenue, 2nd Floor
Topeka, Kansas 66612
(785) 296-2215
shannon.grammel@ag.ks.gov

Daniel Cameron
Attorney General of Kentucky
Marc Manley
Associate Attorney General
Kentucky Office of the Attorney General
700 Capital Avenue, Suite 118
Frankfort, Kentucky
(502) 696-5478
marc.manley@ky.gov

Jeff Landry
Attorney General of Louisiana
Elizabeth B. Murrill
Solicitor General
Joseph S. St. John
Deputy Solicitor General
Louisiana Department of Justice
1885 N. Third Street
Baton Rouge, LA 70804
(225) 326-6766
murrille@ag.louisiana.gov
stjohnj@ag.louisiana.gov

Lynn Fitch
Attorney General of Mississippi
John V. Coghlan
Deputy Solicitor General
State of Mississippi
Office of the Attorney General
550 High Street
Jackson, MS 39201
(601) 359-3680
john.coghlan@ago.ms.gov
                                        5
Eric S. Schmitt
Missouri Attorney General
D. John Sauer
Solicitor General
Jeff P. Johnson
Michael E. Talent
Office of Attorney General
P.O. Box 899
Jefferson City, MO 65102
(573) 751-8870
(573) 751-0774
jeff.johnson@ago.mo.gov

Austin Knudsen
Attorney General
Kristin Hansen
Lieutenant General
David M.S. Dewhirst
Solicitor General
Montana Department of Justice
215 N Sanders
Helena, MT 59601
(406) 444-2026
david.dewhirst@mt.gov

Douglas J. Peterson
Nebraska Attorney General
James A. Campbell
Solicitor General
Office of the Nebraska Attorney General
2115 State Capitol
Lincoln, Nebraska 68509
(402) 471-2682
jim.campbell@nebraska.gov




                                     6
Dave Yost
Ohio Attorney General
Benjamin M. Flowers
Ohio Solicitor General
30 E. Broad St., 17th Floor
Columbus, OH 43220
(614) 466-8980
bflowers@ohioago.gov

John M. O’Connor
Oklahoma Attorney General
Bryan Cleveland
Deputy Solicitor General
Office of the Oklahoma Attorney General
313 NE 21st St.
Oklahoma City, OK 73105
(405) 521-3921
bryan.cleveland@oag.ok.gov

Alan Wilson
Attorney General of South Carolina
Thomas T. Hydrick
Assistant Deputy Solicitor General
Post Office Box 11549
Columbia, SC 29211
(803) 734-4127
thomashydrick@scag.gov

Sean D. Reyes
Utah Attorney General
Melissa Holyoak
Utah Solicitor General
350 N. State Street, Suite 230
P.O. Box 142320
Salt Lake City, UT 84114-2320
(801) 538-9600
melissaholyoak@agutah.gov




                                     7
Jason S. Miyares
Attorney General of Virginia
Andrew N. Ferguson
Solicitor General
Kevin M. Gallagher
Deputy Solicitor General
Virginia Office of the Attorney General
202 North Ninth Street
Richmond, VA 23219
(804) 786-7704
aferguson@oag.state.va.us

Patrick Morrisey
Attorney General of West Virginia
Lindsay S. See
Solicitor General
Office of the Attorney General of West Virginia
State Capitol Complex
Building 1, Room E-26
Charleston, WV 25301
(304) 558-2021
lindsay.s.see@wvago.gov




                                      8
